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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMIBA

_________________________
                        )
UNITED STATES           )
                        )
   v.                   )
                        )                     Criminal No. 21-cr-193-BAH-1
GREG RUBENACKER         )
                        )
      Defendant.        )
________________________)

              MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE

       Defendant Greg Rubenacker, by and through undersigned counsel, pursuant to LCrR 44.1

(d), moves for the admission of Michaelangelo Matera, Esquire, pro hac vice in the above

captioned matter. This motion is supported Mr. Matera’s affidavit, attached to this motion.

       As set forth in Mr. Matera’s affidavit, he is admitted and an active member in good

standing of the State of New York, and is licensed to practice in the United States District Courts

for the Eastern and Southern Districts of New York.

       Undersigned counsel, an active member of the Bar of this Court, sponsors Mr. Matera’s

application to appear pro hac vice in this matter.

                                                      Respectfully submitted,



                                                      ___/s/____________________
                                                      David Benowitz
                                                      DC Bar No. 4515457
                                                      Price Benowitz LLP
                                                      409 7th Street NW, Suite 200
                                                      Washington, DC 20004
                                                      (202) 271-5249 (c)
                                                      (202) 664-1331(f)
                                                      david@pricebenowitz.com
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of July 2021, I caused a true and correct copy of the
foregoing Moton for Admission of Attorney Pro Hac Vice to be delivered via CM/ECF to all
parties in this matter.


                                                      ___/s/__________________
                                                      David Benowitz
